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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
                                                                                                       APR - 4 2019
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UNITED STATES OF AMERICA                                                                               ekTITCrar raffi
                                                                                                                     . VIALZ
                                                                                                                               -re
                        vs.                                                        Case No. CBD 19-mj-01151-1

               Rondell Henry




                     ORDER OF TEMPORARY DETENTION PENDING HEARING
                              PURSUANT TO BAIL REFORM ACT


          Upon motion of the United States for Temporary Detention, it is ORDERED that a detention

hearing is set for               rit       2-0/ 3t                              (date) at/Z3h$Z7i5efore

  14D& 5                        14.4 .Th i-6;ro/a,frn                               , United States Magistrate Judge,

6500 Cherrywood Lane, Greenbelt, Maryland 20770 Courtroom                                  TBD

           Pending this hearing, the defendant shall be held in custody by (the United States Marshal)

                                                                                             ) (Other Custodial Official)

and produced for the hearing.



April 4,2019
Date                                                                       Charles B. Day
                                                                           United States Magistrate Judge




U.S. District Court (4/2000) Criminal Magistrate Forms: Order Temp. Detention
